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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


DAR’SHA L. HARDY,
                                                          Case No. 16-10639
         Plaintiff,                                       (Consolidated with 16-12140)
                                                          Honorable John Corbett O’Meara
v.

IRON STREET PROPERTIES, L.L.C., d/b/a
RIVER PARK LOFTS; DENNIS KEFALLINOS;
and BOYDELL DEVELOPMENT INC.,

         Defendants.
                                                   /

       ORDER GRANTING DEFENDANTS' MOTION TO CONSOLIDATE AND
                    DENYING WITHOUT PREJUDICE
             PLAINTIFF'S MOTION FOR SUMMARY JUDGMENT

      This matter came before the court on plaintiff Dar'sha L. Hardy's February 15, 2017 motion

for summary judgment and Defendants' February 27, 2017 motion to consolidate. The parties filed

responses to the motions March 13, 2017; and Plaintiff filed a reply brief March 26, 2017. Pursuant

to Local Rule 7.1(f)(2), no oral argument was heard.

      Plaintiff Dar'sha L. Hardy claims that on May 28, 2015, she inquired about renting a residence

at the River Park Lofts for herself and her six-year old son. She was informed that the building has

a "no kids" policy. The Fair Housing Act of 1988 prohibits discrimination against families with

children under the age of 18.

      On February 22, 2016, Plaintiff filed this action and filed a First Amended Complaint April

4, 2016, to add an additional defendant. Plaintiff subsequently contacted the Fair Housing Center

of Metropolitan Detroit ("FHCMD"). On June 10, 2016, FHCMD filed Civil Action No. 16-12140
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against the same defendants, alleging the same facts and seeking the same relief. The second action

was initially assigned to Judge Gerald E. Rosen but was accepted by this court as a companion case.

Defendants seek to consolidate the two cases, and plaintiff Hardy seeks summary judgment on the

issue of liability on her first-filed suit.

      Rule 42(a)(2) of the Federal Rules of Civil Procedure permits consolidation of cases "if

actions before the court involve common questions of law or fact." The two cases at issue involve

nearly identical law and facts. Moreover, the same attorneys represent the parties to the two actions.

      Plaintiff contends she will be prejudiced if the two cases are consolidated. Hardy submits that

Defendants have caused undue delay in the initial case by refusing to cooperate in discovery.

Plaintiff's motion to compel is pending before a magistrate judge in the second suit. The second

suit's scheduling order dictates that discovery closes May 31, 2017, and that the dispositive motion

cut-off date is June 30, 2017. Although that presents somewhat of a delay if the cases are

consolidated, the delay is not that long--less than two months. Therefore, the court will grant

Defendants' motion to consolidate; and the two cases will move forward adhering to the scheduling

order in the second case. As a result, Plaintiff's motion for summary judgment is premature and will

be denied without prejudice.

                                              ORDER

      It is hereby ORDERED that Defendants' February 22, 2017 motion to consolidate is

GRANTED. It is further ORDERED that case no. 16-12140 is consolidated with case no. 16-10639

for all purposes, including trial. It is further ORDERED that all subsequent papers filed after the

date of this order shall be entered on case no. 16-12140. It is further ORDERED that case no.

16-10639 is hereby CLOSED for administrative purposes.
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     It is further ORDERED that plaintiff Hardy's February 15, 2017 motion for summary

judgment is DENIED WITHOUT PREJUDICE.



                                            s/John Corbett O’Meara
                                            United States District Judge


Date: April 19, 2017



      I hereby certify that a copy of the foregoing document was served upon counsel of record on
this date, April 19, 2017, using the ECF system.


                                            s/William Barkholz
                                            Case Manager
